
68 U.S. 398 (1863)
1 Wall. 398
WOODS
v.
FREEMAN.
Supreme Court of United States.

*399 Mr. Merriman, for the defendant in error.
Mr. Justice DAVIS delivered the opinion of the court, and after stating facts, proceeded thus:
There was no "mark, word, or character" on the record of the judgment to indicate the amount of taxes for which it was rendered against the land, which was undoubtedly the reason why the court rejected the evidence.
In the construction of local statutes affecting the titles to real estate, this court recognizes the binding force of the interpretation given by the highest judicial tribunal of a State.
*400 This question has been expressly decided by the Supreme Court of Illinois. That court has held,[*] "that a judgment for taxes is fatally defective which fails to show the amount of tax for which it was rendered, and that the use of numerals, without some mark indicating for what they stand, is insufficient." The judgment was therefore void, and the court was right in excluding the evidence from the jury.
Judgment is
AFFIRMED WITH COSTS.
NOTES
[*]  Lawrence v. Fast, 20 Illinois, 340; Lane v. Bommelmann, 21 Id., 147.

